             Case 1:04-cr-01208-JB           Document 163           Filed 04/29/10         Page 1 of 7




                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                   Plaintiff/Respondent,

v.                                                            No. CIV 09-1091 JB/LAM
                                                              No. CR 04-1208 JB
DOMINIC JACQUEZ,

                   Defendant/Movant.

        PROPOSED FINDINGS AND RECOMMENDED DISPOSITION1

         THIS MATTER is before the Court on Defendant/Movant Dominic Jacquez’ amended

Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal

Custody (Doc. 42) (hereinafter “Motion”) filed on December 7, 2009.3 On February 8, 2010,

Plaintiff/Repsondent (hereinafter “the Government”) filed United States’ Response to Defendant’s

Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28 U.S.C. § 2255 (Doc. 9)

(hereinafter “Response”). Mr. Jacquez filed no reply, and the time for doing so has passed.

         The Honorable James O. Browning, United States District Judge, referred the claims raised

in the Motion (Doc. 4) to the undersigned magistrate judge for proposed findings and a



         1
            Within fourteen (14) days after a party is served with a copy of these proposed findings and
recommended disposition, that party may, pursuant to 28 U.S.C. § 636(b)(1), file written objections to such
proposed findings and recommended disposition. A party must file any objections with the clerk of the United
States District Court for the District of New Mexico within the fourteen (14) day period allowed if that party
wants to have appellate review of the proposed findings and recommended disposition. If no objections are filed,
no appellate review will be allowed. Pursuant to Fed. R. Civ. P. 72(b)(2), a party may respond to another party’s
objections within fourteen (14) days after being served with a copy of the objections.
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             Unless otherwise noted, all referenced documents are from Case No. CIV-09-0339.
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           The amended Motion (Doc. 4) appears to be the same as the original motion (Doc. 1) except that the amended
version is signed by Mr. Jacquez, while the original is unsigned.

                                                         1
        Case 1:04-cr-01208-JB         Document 163        Filed 04/29/10      Page 2 of 7




recommended disposition, and a hearing, if necessary. Order of Reference Relating to Bankruptcy

Appeals, Social Security Appeals, Prisoner Cases, and Immigration Habeas Corpus Proceedings

(Doc. 2). Having considered the parties’ submissions, the relevant law, and the records in this case

and in Mr. Jacquez’ underlying criminal case contained in Case No. CR-04-1208, the undersigned,

for the reasons set forth below, recommends that:

       (1) the claim raised in Mr. Jacquez’ Motion (Doc. 4) be DENIED;

       (2) and this case be DISMISSED with prejudice.

                              Factual and Procedural Background

       The facts giving rise to this Motion are outlined neatly in the Tenth Circuit’s denial of

Mr. Jacquez’ direct appeal.

                        On April 8, 2004, a confidential informant reported to Deputy
               Connie Johnston, a member of the San Juan County, Sheriff's
               Department, that someone had driven a black Cadillac Escalade away
               from a local residence known to be associated with drug activity. The
               tipster also provided the deputy with the license plate number of the
               vehicle. Deputy Johnston's search of a database revealed that the
               vehicle was registered to an individual named Tommy Largo. Deputy
               Johnston relayed this information to fellow deputy Brian Dennis. She
               did not provide Deputy Dennis with Tommy Largo's date of birth or
               a physical description of him.

                       Later that day, Deputy Dennis, who had never encountered
               Tommy Largo and had no identifying information for him, observed
               the black Escalade parked at a gas station in Farmington, New
               Mexico. An unidentified male stood near the vehicle, pumping gas.
               Deputy Dennis confirmed that the license plate on the vehicle
               matched the number Deputy Johnston had given him. Then, using a
               computer in his cruiser, he entered the name Tommy Largo into a
               database and ascertained that there was an outstanding warrant for the
               arrest of an individual named Tommy Largo.

                       Deputy Dennis pulled the Escalade over shortly after it exited
               the gas station. Unbeknownst to Deputy Dennis, the vehicle had two
               occupants, neither of whom was Tommy Largo. In fact, Mr. Jacquez

                                                 2
Case 1:04-cr-01208-JB        Document 163         Filed 04/29/10      Page 3 of 7




     was driving the Escalade, and a woman named Veronica Gallegos
     occupied the passenger seat. Tommy Largo, the registered owner of
     the vehicle, was an elderly man who had no outstanding warrants for
     his arrest. The Tommy Largo for whom the warrant was issued was
     considerably younger than the owner of the vehicle and had no
     association with the vehicle or its occupants.

             After approaching the vehicle, Deputy Dennis asked
     Mr. Jacquez to produce his driver's license. Mr. Jacquez handed
     Deputy Dennis an identification card, stating that he had a driver's
     license but could not find it. Mr. Jacquez also admitted that he did not
     own the vehicle; he reported that he had borrowed [it] from someone
     named “Mike” and had only been in possession of it for two hours.
     He would not, or could not, inform Deputy Dennis of Mike's last
     name. Three other deputies soon joined Deputy Dennis. Once again
     using his cruiser's computer, Deputy Dennis learned that
     Mr. Jacquez's driver's license was suspended and that there were two
     warrants for his arrest. After verifying the existence of the warrants,
     Deputy Dennis informed Mr. Jacquez that he was under arrest and
     placed him in custody.

             After being placed under arrest, Mr. Jacquez was handcuffed
     and searched. Pursuant to the San Juan County Sheriff's written
     policy, Deputy Dennis ordered the vehicle to be towed. Policy further
     required that the officers undertake an inventory search of the vehicle
     prior to towing. In this case, the inventory search revealed a fanny
     pack that contained two digital scales, some rolled up plastic bags,
     83.5 grams of methamphetamine, and documents bearing
     Mr. Jacquez's name. The officers also found a handgun beneath the
     driver's seat. At that time, the deputies placed Mr. Jacquez's
     companion, Ms. Gallegos, under arrest. After being detained at the
     Farmington Holding Facility, Mr. Jacquez and Ms. Gallegos were
     released.

            On June 1, 2004, a United States Magistrate Judge authorized
     a federal criminal complaint against Mr. Jacquez, based on
     Mr. Jacquez's possession of methamphetamine in April of that year.
     The next day, New Mexico State Police officers arrested Mr. Jacquez
     at his sister's home, where he had been residing. Mr. Jacquez
     consented to a search of the home, where officers found several guns,
     methamphetamine, plastic baggies, and scales.

             Following the search, a federal grand jury charged him with
     the following: three counts of possession with intent to distribute five

                                        3
        Case 1:04-cr-01208-JB          Document 163         Filed 04/29/10      Page 4 of 7




               (5) grams or more of methamphetamine, in violation of 21 U.S.C.
               § 841(a)(1) and (b)(1)(B); one count of possession of a firearm in
               furtherance of a drug trafficking crime, in violation of 18 U.S.C.
               § 924(c)(1)(A); and one count of maintaining a place for
               manufacture, distribution, and use of controlled substances, in
               violation of 21 U.S.C. § 856(a)(1) and (b). Mr. Jacquez and
               Ms. Gallegos filed a motion to suppress the evidence found in the
               Escalade as well as all evidence directly or indirectly derived from
               that search. In support of the motion, the defendants argued that
               Deputy Dennis lacked reasonable suspicion to stop the vehicle. After
               conducting an evidentiary hearing, the district court denied the
               motion. Mr. Jacquez ultimately entered a conditional plea of guilty,
               reserving the right to appeal the district court's determination that []
               Deputy Dennis's traffic stop did not violate his Fourth Amendment
               right to be free from unreasonable seizures.

United States v. Jacquez, No. 06-2026, 284 Fed. Appx. 544, 545–46 2008 WL 2694060 at *1–2

(10th Cir. July 9, 2008) (unpublished).

       The Tenth Circuit affirmed the District Court’s ruling that the deputy had reasonable

suspicion to stop the Escalade because he reasonably believed that the person driving the vehicle

had an outstanding warrant. Id. at 545. Mr. Jacquez filed the instant motion for habeas corpus relief

on December 7, 2009 and requests that “his conviction be vacated, set-aside, and held for naught.”

Motion (Doc. 4) at 14.

                                             Discussion

       In order to be successful with his Motion, Mr. Jacquez must show any of the following:

(1) that his sentence violates the “Constitution or laws of the United States,” (2) that the sentencing

“court was without jurisdiction to impose such a sentence,” (3) that “the sentence was in excess of

the maximum authorized by law,” or (4) that his sentence “is otherwise subject to collateral attack.”

28 U.S.C. § 2255; see Browning v. United States, 241 F.3d 1262, 1264 (10th Cir. 2001). If the Court

finds that any of these circumstances exists, the Court must vacate the underlying judgment and set


                                                  4
        Case 1:04-cr-01208-JB          Document 163         Filed 04/29/10      Page 5 of 7




it aside, and either grant a new trial, correct the sentence, or release Mr. Jacquez.              See

28 U.S.C. § 2255.

       Mr. Jacquez asserts that his attorney’s assistance was constitutionally ineffective for “failing

to properly research the law pertaining to traffic stops . . . to gain suppression of the fruits of the

illegal searches” resulting from his April 8, 2004 traffic stop. Motion (Doc. 4) at 5. To prevail on

his ineffective assistance of counsel claim, Mr. Jacquez must show facts that satisfy the two-prong

test established in Strickland v. Washington, 466 U.S. 668, 687 (1984). First, he must show that his

counsel’s performance “fell below an objective standard of reasonableness.” Id. at 688. Second,

he “must show that there is a reasonable probability that, but for counsel’s unprofessional errors, the

result of the proceeding would have been different.” Id. at 694. “Failure to make the required

showing of either deficient performance or sufficient prejudice defeats the ineffectiveness claim.”

Id. at 700; see Boltz v. Mullin, 415 F.3d 1215, 1222 (10th Cir. 2005). Courts begin with the “strong

presumption that counsel’s conduct falls within the wide range of reasonable professional

assistance.” United States v. Taylor, 454 F.3d 1075, 1079 (10th Cir. 2006) (quoting Strickland, 446

U.S. at 689). Furthermore, where a defendant contends that his counsel was ineffective for failing

to competently litigate a Fourth Amendment claim, he “must also prove that [1] his Fourth

Amendment claim is meritorious and that [2] there is a reasonable probability that the verdict would

have been different absent the excludable evidence in order to demonstrate actual prejudice.”

Kimmelman v. Morrison, 477 U.S. 365, 375 (1986) (applying Strickland).

       Here, Mr. Jacquez fails to show that his counsel’s performance fell below an objective

standard of reasonableness. Mr. Jacquez asserts that the “legal principles” in certain Supreme Court

cases support his position that the initial stop was unlawful, and he further asserts that his trial


                                                  5
        Case 1:04-cr-01208-JB           Document 163          Filed 04/29/10       Page 6 of 7




counsel was “clearly negligent by not using the theories therein to gain suppression of the fruits of

the illegal searches.” Motion (Doc. 4) at 5, citing Florida v. Thomas, 532 U.S. 774 (2001); Arizona

v. Johnson, ___ U.S. ___, 129 S.Ct. 781 (2009); Arizona v. Gant, ___ U.S. ___, 129 S.Ct. 1710

(2009); and Brendlin v. California, 551 U.S. 249 (2007)). All but one of these decisions, however,

post-date the trial attorney’s suppression motion, which was filed on September 14, 2004. See

Motion to Suppress Illegally Gathered Evidence (Doc. 33), filed in Case No. CR-04-1208.

Ineffective assistance claims fail “where a defendant faults his former counsel . . . for failing to

predict future law[;] . . . clairvoyance is not a required attribute of effective representation.” Bullock

v. Carver, 297 F.3d 1036, 1052 (10th Cir. 2002) (internal quotation marks and citations omitted).

In addition, none of the legal principles in these cases would have helped Mr. Jacquez’ defense

because these cases address the limits of searches incident to valid stops and arrests, while the

evidence used against Mr. Jacquez was gathered in an inventory search and in a search of

Mr. Jacquez’ home based on his consent. See Thomas, 532 U.S. at 776 (discussing the issue of a

vehicle search incident to the arrest of its occupant); Johnson, 129 S. Ct. at 784 (holding that in a

traffic-stop setting, just as in an on-the-street setting, a patdown is justified only when the law

enforcement officer has a reasonable suspicion that the person is armed and dangerous); Gant, 129

S. Ct. at 1723 (“Police may search a vehicle incident to a recent occupant’s arrest only if the arrestee

is within reaching distance of the passenger compartment at the time of the search or it is reasonable

to believe the vehicle contains evidence of the offense of arrest.”); Brendlin, 551 U.S. at 263 (for

purposes of the Fourth Amendment, passengers in motor vehicles are seized from the moment the

car is pulled over by law enforcement and, therefore, are entitled to challenge the validity of the

stop); see also United States v. Edwards, 242 F.3d 928, 937-39 (10th Cir. 2001) (explaining the


                                                    6
          Case 1:04-cr-01208-JB               Document 163             Filed 04/29/10          Page 7 of 7




different standards required for searches incident to arrest and inventory searches); and United States

v. Pena-Sarabia, 297 F.3d 983, 986-87 (10th Cir. 2002) (upholding district court’s denial of a

motion to suppress because the evidence was gathered pursuant to a voluntary consent to search a

home). Mr Jacquez fails to explain how these cases would support suppression of the evidence used

against him and, therefore, the Court finds that Mr. Jacquez’ counsel’s performance did not fall

below an objective standard of reasonableness for failing to use these four cases in his defense.4

Because the Court finds that Mr. Jacquez’ counsel’s performance did not fall below an objective

standard of reasonableness, Mr. Jacquez’ ineffective assistance of counsel claim fails and

Mr. Jacquez’ Motion should be denied.

                                           Recommended Disposition

         IT IS HEREBY RECOMMENDED, for the reasons stated above, that:

         (1) the claims raised in Mr. Jacquez’ Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside,

or Correct Sentence by a Person in Federal Custody (Doc. 4) be DENIED; and

         (2) all other claims and Case No. CIV-09-0339 be DISMISSED with prejudice.



                                                        ___________________________________________
                                                        THE HONORABLE LOURDES A. MARTÍNEZ
                                                        UNITED STATES MAGISTRATE JUDGE



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             The Court notes that Mr. Jacquez’ contention that the information provided to the officer by the confidential
informant “did not provide ‘probable cause’” to stop the vehicle Mr. Jacquez was driving is based on the wrong standard
because the officer only needed reasonable suspicion to stop the vehicle. See United States v. Pena-Montes,
589 F.3d 1048, 1052 (10th Cir. 2009) (“an officer need only reasonably suspect that a crime is in the offing to justify
a traffic stop and detention,” and “reasonable suspicion arises when an officer of reasonable caution has a particularized
and objective basis for suspecting the person stopped of criminal activity”). Both the trial court, after an evidentiary
hearing and oral arguments, and the Tenth Circuit expressly held that this claim is not meritorious. Memorandum
Opinion and Order (Doc. 122) at 1, 15, filed in Case No. CR-04-1208 (holding that the initial traffic stop was valid
because it was based on reasonable suspicion); Jacquez, 284 Fed. Appx. at 545 (same).

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